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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION


UNITED STATES OF AMERICA,                            CR-04-17-H-BMM-2

                 Plaintiff,

       vs.
                                                          ORDER
TYLER BENTON HUGHES,

                 Defendant.


      United States Magistrate Judge John Cavan entered Findings and

Recommendations in this matter on April 9, 2021. (Doc. 129.) Tyler Hughes

(Hughes) filed an objection on April 21, 2021. (Doc. 130.) The Court reviews de

novo findings and recommendations to which a party objects. 28 U.S.C. §

636(b)(1).

      Judge Cavan conducted a revocation hearing on April 8, 2021. (Doc. 128.)

The United States accused Hughes of violating his conditions of supervised release

by using and possessing methamphetamine on two separate occasions. (Doc. 115.)

At the revocation hearing, Hughes admitted to violating the terms of his supervised

release by using and possessing methamphetamine on two separate occasions.

Judge Cavan found the violations Hughes admitted are serious and warrant
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revocation of Hughes’s supervised release. Judge Cavan recommended Hughes

should be incarcerated for 7 months, with 33 months of supervised release to

follow. (Doc. 129.)

       Hughes now opposes Judge Cavan’s Findings and Recommendations,

objecting to the 7-month imprisonment sentence on Counts 1-4, the 9-month

supervised release sentence on Counts 5-6 and the recommended 6-month stay at a

residential re-entry center that Judge Cavan recommended. (Doc. 130.)

      The Court has reviewed Judge Cavan’s Findings and Recommendations as

well as Hughes’s objection. The undersigned conducted a revocation hearing on

April 29, 2021 and ordered a continuance until May 5, 2021, to obtain more

information on Huges’ wife’s status. Hughes and his attorney were allowed to

allocute before the undersigned. (Doc. 135 and 138.) The Court has also

considered the 18 U.S.C. § 3553(a) factors and agrees with Judge Cavan’s

Findings and Recommendations. Hughes’s violations of his conditions represent a

serious breach of the Court’s trust. This violation proves serious. Judge Cavan has

recommended that the Court revoke Hughes’s supervised release and commit him

to the custody of the Bureau of Prisons for 7 months. (Doc. 129.) Judge Cavan

further has recommended a term of 33 months of supervised release. (Id.)

Accordingly,
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      IT IS HEREBY ORDERED that Hughes’ objection is denied. Judge

Cavan’s Findings and Recommendations (Doc. 129) are ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Tyler Benton Hughes be

sentenced to custody of the Bureau of Prisons for a term of 7 months, with 33

months of supervised release to follow.

      DATED this 5th day of May, 2021.
